TRUST COMPANY OF GEORGIA, EXECUTOR, ESTATE OF ELLEN B. BUCK, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Trust Co. of Georgia v. CommissionerDocket No. 12988.United States Board of Tax Appeals12 B.T.A. 434; 1928 BTA LEXIS 3546; June 6, 1928, Promulgated *3546  The March 1, 1913, value of real estate determined.  Robert G. Stephens, Esq., for the petitioner.  Leroy L. Hight, Esq., for the respondent.  TRAMMELL*434  This is a proceeding for the redetermination of a deficiency in income tax for 1920 in the amount of $3,477.10.  The question involved is whether the Commissioner erred in reducing the March 1, 1913, value of property sold in 1920 from $40,000 as reported in the return, to $30,000.  FINDINGS OF FACT.  The petitioner, the First Trust Company of Georgia, is the executor of the estate of Ellen B. Buck, who died after the institution of this proceeding, and the petition was amended at the hearing to substitute the petitioner in lieu of the decedent.  *435  Prior to March 1, 1913, the decedent acquired real estate located at the southeast corner of West Peachtree Street and Linden Street in Atlanta, Ga.  The property was described as follows: Commencing at the Southeast corner of West Peachtree and Linden Streets and running South seventy-five (75) feet; thence East one hundred and seventy-five (175) feet to a ten foot alley; thence North seventy-five (75) feet to Linden Street; thence*3547  West one hundred and seventy-five (175) feet to point of beginning.  Also beginning seventy-five (75) feet South of the Southeast corner of West Peachtree Street and Linden Street and running thence South forty-five (45) feet; thence East one hundred and seventy (170) feet to a ten (10) foot alley; thence North forty-five (45) feet; thence West one hundred and seventy (170) feet to point of beginning.  The improvement on this property is an old, 2-story, frame residence, with brick foundation and shingle roof, and containing twelve rooms.  The cost of this property was less than the March 1, 1913, value.  This property was sold in 1920 for $60,000.  The March 1, 1913, value was $40,000.  The sale in 1920 was on the installment basis.  The amount of $5,000 in cash was paid in 1920, and the purchaser's note given for $55,000 payable on or before 18 months from date, bearing 6 per cent interest.  Expenses were paid out of the $5,000 cash amount, leaving the net amount of $3,373.50.  OPINION.  TRAMMELL: At the hearing the respondent conceded that the sale was an installment sale and that all of the gain should not be taxed in 1920.  It was also conceded that the sales price was*3548  $60,000 and that the cost prior to March 1, 1913, was less than the March 1, 1913, value.  This leaves for consideration here only the question as to the March 1, 1913, value.  On this question witnesses who were qualified to express their opinions as to the value of the property, testified.  Testimony was also introduced as to the sales of other property in the vicinity and from all of the testimony it is our opinion that the March 1, 1913, value was $40,000.  Judgment will be entered under Rule 50.